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  IT IS ORDERED as set forth below:



  Date: September 19, 2018
                                              _____________________________________
                                                          James R. Sacca
                                                    U.S. Bankruptcy Court Judge

 _______________________________________________________________




                    UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

 IN RE:
                                               CHAPTER 11
 DULUTH TRAVEL, INC.,
                                               CASE NO. 18-54894-jrs
       Debtor.


        FIFTH INTERIM ORDER REGARDING DEBTOR’S EXISTING
       DEPOSITORY ACCOUNTS AND CASH MANAGEMENT SYSTEM

      This matter came before the Court for hearing on September 18, 2018, on the Motion

for Authority to Maintain Existing Depository Bank Account and Cash Management

System (“Motion”) filed by Duluth Travel, Inc. (“Duluth”). Duluth further announced at

the initial hearing on the Motion, on March 27, 2018, that it had one account at Bank of

America (“BOA”), an authorized depository, with an account ending in 5152 (“BOA

Account”), which it opened pre-petition.
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       This Court has considered the Motion and the arguments made at the Hearing. It

appears that the Court has jurisdiction over this matter; that it is a core proceeding; that

notice has been provided as required by the Order on Motion for Expedited Hearing; that

no further notice is necessary; that the relief sought in the Motion, on an interim basis, is

in the best interests of Debtor, its estate and its creditors; and that good cause has otherwise

been shown for the relief sought in the Motion on an interim basis. Accordingly, it is hereby

       ORDERED that, on an interim basis, Debtor is authorized to maintain its existing

depository bank accounts with Gwinnett Community Bank (“GCB”) which accounts

consist of: 1) Operating, account ending in 3237; 2) Costa Rica, accounting ending in 0264;

3) Save the Children, account ending in 4917; and 4) VA, account ending in 2068, as well

as the BOA Account (collectively, “Accounts”). The Accounts are permitted to retain the

same account numbers and, subject to any restrictions on the accounts set forth below, the

Accounts may be treated as the accounts for the Debtor-in-Possession; and it is further

       ORDERED that, during the interim time period, Debtor shall designate the

Accounts as the Debtor-in-Possession depository accounts as of the date this case was filed;

and it is further

       ORDERED that, during the interim time period, Debtor may use pre-existing check

stock and deposit slips for the Accounts, provided, however that Debtor stamp “DIP” and

the applicable case number on existing stock; and it is further

       ORDERED that, during the interim time period, GCB is authorized to continue to

service and administer the Accounts held at GCB as the accounts of the Debtor-in-



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Possession and may, in the usual and ordinary course, receive, process, honor and pay all

checks, drafts, wires or other automated transfers drawn on the Accounts; and it is further

       ORDERED that, during the interim time period, Debtor and GCB are authorized to

continue to perform pursuant to the terms of any pre-petition agreements that may exist

between them with respect to the Accounts held at GCB and shall continue to enjoy the

rights and remedies afforded to them under any such agreement, except to the extent

modified by this Order or by operation of the United States Bankruptcy Code; provided,

however, nothing contained in this Order shall be interpreted as imposing any additional

service obligations on GCB, and it is further

       ORDERED that, to the extent the ten-day stay imposed by Federal Rule of

Bankruptcy Procedure 6004(h) may be construed to apply to the subject matter of this

Order, such stay is hereby waived; and it is further

       ORDERED that the Court will hold a continued hearing regarding the Motion in

the U.S. Bankruptcy Court, Courtroom 1404, 75 Ted Turner Drive, SW, Atlanta,

Georgia, on October 18, 2018, at 9:30 A.M.; and it is further

       ORDERED that the Court shall retain jurisdiction to hear and determine all matters

arising from the implementation of this Order.

                                [END OF DOCUMENT]




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